Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 1 of 35

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

ETHAN KESSLER HALLEY, et al.,

Plaintiffs, DECLARATION OF RECEIPT OF
PROOF OF MAILING
-against-
Civil Action No.: 1:24-cv-00571-RDM

ANTONY BLINKEN, et al.,

Defendants.

ROBERT J. TOLCHIN, declares and state under the penalties of perjury that:

I am not a party to the action, I am over 18 years of age and reside in Kings County, New York.

That I attach hereto proof of receipt of mailing from The United States Postal Service for service
of PLAINTIFFS’ SUMMONS IN A CIVIL ACTION AND COMPLAINT (DOCUMENT #1 AND

DOCUMENT # 5) served upon the following defendants via Certified Mail: Return Receipt on April

16, 2024:

Merrick Garland
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530
Via Certified Mai: Return Receipt
Tracking Number: 7006-2760-0001-4393-2208
Mailed: April 16, 2024
Received: April 22, 2024

Mathew Graves
United States Attorney for the District of Columbia

601 D Street NW

Washington, DC 20530

Via Certified Mail: Return Receipt
Tracking Number: 7006-2760-0001-4393-2215
Mailed: April 16, 2024
Received: April 22, 2024

Case 1:24-cv-00571-RDM Document? Filed 05/17/24 Page 2 of 35

Civil Process Clerk
U.S. Attorney for the District of Columbia
601 D Street NW
Washington, DC 20530
Via Certified Mail: Return Receipt
Tracking Number: 7006-2760-0001-4391-1111
Mailed: April 16, 2024
Received: April 22, 2024

Date: Brooklyn, New York
May 16, 2024

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ROBERT J. TOLCHIN

Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 3 of 35

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Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 5 of 35

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February 2004
Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 8 of 35

Postage & Fees Pald
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* Sender: Please print your name, address, and ZIP+4 In this box *

The Berkman Law Office, LLC
- §29 East 15th Street
Brooklyn, New York 11230

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Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 9 of 35

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

ETHAN KESSLER HALLEY, et al.,

Plaintiffs, AFFIDAVIT OF SERVICE

-against- Civil Action No.: 1:24-cv-00571-RDM

ANTHONY BLINKEN, et al.,

Defendants.

STATE OF NEW YORK)
) $s.:
COUNTY OF KINGS )

SHOSHANA SHUMUNOYV, being duly sworn, deposes and says:
I am not a party to the action, am over 18 years of age and reside in New York County, New
York,

On April 16, 2024, I served the within SUMMONS AND COMPLAINT upon:

Anthony Blinken
Secretary of the United States
Department of State
2201 C Street NW
Washington, DC 20520
Via Certified Mail: Return Receipt
Tracking #: 7006-2760-0001-4393-2161

United States Department of State
2201 C Street NW
Washington, DC 20520
Via Certified Mail: Return Receipt
Tracking #: 7006-2760-0001-4393-2178

Richard Verma
Deputy Secretary of State for
Management and Resources
2201 C Street NW
Washington, DC 20520
Via Certified Mail: Return Receipt

Tracking #: 7006-2760-0001-4393-2185

Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 10 of 35

Tamara Cofman Wittes
Director, Office of U.S. Foreign Assistance
2201 C Street NW
Washington, DC 20520
Via Certified Mail: Return Receipt
Tracking #: 7006-2760-0001-4393-2192

Merrick Garland
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530
Via Certified Mail: Return Receipt
Tracking Number: 7006-2760-0001-4393-2208

Mathew Graves
United States Attorney for the District of Columbia
601 D Street NW
Washington, DC 20530
Via Certified Mail: Return Receipt
Tracking Number: 7006-2760-0001-4393-2215

Civil Process Clerk
U.S. Attorney for the District of Columbia
601 D Street NW
Washington, DC 20530
Via Certified Mail: Return Receipt
Tracking #: 7006-2760-0001-4391-J111

by depositing a true copy thereof enclosed in a postage-paid wrapper, in an official depository under the

exclusive care and custody of the United States Postal Service: Via Certified Mail: Return Receipt

within New York State, addressed to each of the above named person/office/defendant at the last known

address set forth after each name. Please see proof attached hereto.

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WADE
Sworn to before me this WO
17" Day of April, 2024 SHOSHANA SHUMUNOV

o : Jy
Notary Public

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BROOKI.YN, NY 11230-9997
(800) 275-8777

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Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 12 of 35

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From:
The Berkman Law Office, LLC
829 East 15th Street. Box 7

Brooklyn, New York 11230

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Anthony Blinken
Secretary of the United States
Department of State
2201 C Street NW
Washington, DC 20520

Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 15 of 35

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The Berkman Law Office, LLC
829 East 15th Street, Box 7
Brooklyn, New York 11230

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2201 C Street NW
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Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 18 of 35

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Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 20 of 35

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First Class Mail

From:

The Berkman Law Office, LLC
§29 East 15th Sireei. Box 7
Brooklyn. New York 11230

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— Richard Verma
Deputy Secretary of State for
Management and Resources
2201 C Street NW
Washington, DC 20520
Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 21 of 35

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First Class Mail

From:

The Berkman Law Office, LLC
829 East 15th Street. Box 7
Brooklyn, New York 11230

To:

umber: 7006-2760-0001
Tamara Cofman Wittes
Director, Office of U.S. Foreign Assistance

2201 C Street NW
Washington, DC 20520

Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 23 of 35

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First Class Mail

From:

The Berkman Law Office, LLC
29 East 15th Sireet, Box 7

Brooklyn, New York 11230

To:

Merrick Garland
Attorney General of The United States
U.S. Department of Justice
950 Pennsylvania Avenue, NW

Washington, DC 20530
Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 26 of 35

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First Class Mail

From:

The Berkman Law Office, LLC
829 East 15th Street, Box 7
Brooklyn, New York 11230

To: Vi

Tracking Number: 7006-2760-0001-4393-2215
Matthew Graves
United States Attorney for the District of Columbia
601 D Street NW

Washington, DC 20530

Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 29 of 35

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First Class Mail

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The Berkman Law Office, LLC
829 East 15th Street. Box 7
Brooklyn, New York J] 230

To:

Civil Process Clerk
United States Attorney for the District of Columbia
601 D Street NW
Washington, DC 20530
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Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 32 of 35

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Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 34 of 35

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

ETHAN KESSLER HALLEY, et al.,

Plaintiffs, AFFIDAVIT OF SERVICE
-against- Civil Action No.: 1:24-cv-00571-RDM
ANTHONY BLINKEN, et al.,
Defendants.
X
AFFIDAVIT OF SERVICE

TO:
Case 1:24-cv-00571-RDM Document 7 Filed 05/17/24 Page 35 of 35

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

ETHAN KESSLER HALLEY, et al.,
Plaintiffs, DECLARATION OF RECEIPT OF
PROOF OF MAILING
-against-
Civil Action No.: 1:24-cv-00571-RDM
ANTONY BLINKEN, et al.,

Defendants.

AFFIDAVIT OF SERVICE

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